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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )       Criminal No. 1:22-cr-00200-APM
                       v.                         )
                                                  )
 PETER K. NAVARRO,                                )
                                                  )
                  Defendant.                      )
                                                  )

                              MOTION TO EXTEND TIME
                        FOR FILING OF MOTION FOR NEW TRIAL

       Defendant Peter K. Navarro, by and through his undersigned counsel, pursuant to

Fed.R.Crim.P. 45(b), hereby files this Motion to Extend Time for Filing of Motion for New Trial,

stating in support thereof as follows:

       1.      The Court held trial of this case on September 5-7, 2023. After being instructed on

the law by the Court, the jury retired for deliberations and, on September 7, returned a guilty verdict

against the Defendant on both counts charged.

       2.      The Defendant intends to file a Motion for New Trial, pursuant to Fed.R.Crim.P.

33(b)(2), which will assert, among other things, that he was unfairly prejudiced by the jury’s

exposure to media cameras and January 6th protestors when it was escorted outside the courthouse

by a Court Security Officer before it had completed its deliberations and reached a verdict.

       2.       Fed.R.Crim.P. 33(b)(2) provides that “Any motion for a new trial grounded on any

reason other than newly discovered evidence must be filed within 14 days after the verdict or

finding of guilty.” As per the Rule, the Defendant’s Motion for New Trial is currently due on

September 21, 2023.




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        3.      The Court has indicated that it will provide the Defendant and the Government with

security camera videotape recordings that depict the jury’s presence outside the courthouse to

assist counsels’ review of the matter. On September 18, 2023, the Court entered a protective order

that allows disclosure of the recordings to counsel for the parties and protects them from disclosure

to unauthorized third parties. The Defendant anticipates that it will obtain access to the recordings

in the next several days.

        4.      Upon obtaining the recordings, counsel for the Defendant will evaluate them (in

addition to other information, including the testimony of the Court Security Officer at the hearing

held on September 13, 2023) to assess whether, and to what extent, unfair prejudice may have

resulted to the Defendant.

        5.      The Defendant requests a two-week extension to evaluate the security camera

recordings after he receives them and prepare his Motion for New Trial. The Government does not

object to this Motion and proposes that the Court set a deadline of October 27, 2023, for the filing

of its opposition brief.

        WHEREFORE, for good cause shown, the Defendant requests that the time for his filing

of a Motion for New Trial be extended to October 6, 2023, with the Government’s opposition brief

due on October 27, 2023.



Dated: September 20, 2023                     Respectfully Submitted,



                            [COUNSEL SIGNATURES ON NEXT PAGE]




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                       v.                         )
                                                  )
 PETER K. NAVARRO,                                )
                                                  )
                  Defendant.                      )
                                                  )

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 20, 2023, a true and correct copy of

the foregoing was electronically filed and served via the CM/ECF system, which will

automatically send electronic notification of such filing to all registered parties.

                                               Respectfully submitted,


                                               SECIL LAW PLLC

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